Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 1 of 8 Pageid#:
                                  20311




                        EXHIBIT 1
Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 2 of 8 Pageid#:
                                  20312



                                   UNITED STATES DISTRICT COURT
                  __E_as_t_e_r_n____ District of __N_o_r_t_h_C_a_r_o_l_1_na__
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                      United States of America                     Criminal No. 90- 75:..02-CR-3          . /J..u[i 2            :
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                                                                                                 J. ;.,\c·•                 ~;
                                     vs.                                                          US h li:.c,r,,           .
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                     MICHAEL TUBBS,                                                                     [JJ~ ... ••vr
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                                                                                                                             U--·   .,
                         a/k/a Michael                                                           -·                 0. CAf?. .-r r
                         Ralph Tubbs,
                         a/k/a Michael
                         Ral-f Tubbs


                                            ORDER FOR DISMISSAL

                      Pursuant to Rule 48(a) ofthe Federal Rules of Criminal Procedure

                 and by leave of court endorsed hereon the United States Attorney for

                         E..._as...t...e....r.....n.____ District of
                 the _ _...                                            Nartb Caroli ria
                                                                    Indictment
                 hereby dismisses the Counts Two and Three of the ,gainst
                                                (indictment, information, complaint)
                 _M_I_C_HA_E_L_T_U_BB_S....:''---------- defendant.,
                 a/k/a Michae1 Ralph Tubbs·, a/k/a Michael Ralf Tubbs,
                 because tne Defendant has agreed to plead guilty to
                 Count One of the i'n ·. ~m n .                              'jc_          (
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      Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 3 of 8 Pageid#:
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                 PO        D     417          03 Auif109                            L...J WRIT           ~vs.         TUBBS, Michael, a/k/a Michael                                                  1      1

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                                                                                    L-.J JUVENILE              •
                                                                                                                       Ralph Tubbs, a/k / a Michae 1                                                 I      I 90           00075
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                           U.S. TITLE/SECTION                                                                               OFFENSES CHARGED                                      ORIGINALCOUNTSt                                OISM.

                  18:6_41 Ii,_ 1_8:2                                          . Knowingly wiHfully! i_ntentionally arid 1u_:1_~a:[~!~-~~~---·-·r• :_ ___ L_                                                                      ''CG
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                         U.S. Attorney or Aut.     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , . . - - , B A I L t RELEASE
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                         RULE 20 TO THE MIDDLE DISTRICT OF FLORIDA (Jacksonville) 4/24/91.                                                                                                                    AMOUNT SET
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               Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 4 of 8 Pageid#:
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r                    ··1 °"""""• l"''LJ MASTER OOCKET • MULTIPL£ DEFENDANT CASE                                 VI EXCLUDABLEDELAY
       OATE                                                                                 PAGE L._J OFL.__j
                                          I__J   PROCEE_QINGS DOCKET FOR SINGLE DEFENDANT                       51   ••0.11         Tu

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                   IOOTIOltALI ......, . - .... ..._.. v. PROCEEDINGS
     12-18-9     l     INDICTMENT FILED - c: USA, USPO, USM, J. Howard, Mag. Mccotter,
                                                    Mag. Dixon, Fay Div.                jn
     12~19-90        REQUEST FOR WARRANT - by: US Attorney_ - Rec: Detnetion              ~h
     12-19-90         WARRANT FOR ARREST - Orig and le: USM w/copy of indictment
                            c: USA                                   ,        jh        j tl

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    4-23-91     3     ORDER FOR DISMISSAL - Cts. 2 & 3 of the Indictment are dismisse,
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                              because the Deft has agreed to plead guilty to ct. 1 of                                                      c -...



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                              the Indictment Judge Malcolm J. Howard) O.B.#14, P.144                                                         -·IIIIDII
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                              c: UsA, USPO, PTS, Judge Howard, SD/Florida             jh                                                   .-mNIII
    4-23-91     4     CONSENT TO TRANSFER OF CASE FOR PLEA AN]) SENTENCE PURSUANT TO


                                                                                                                                            --·-
                      ROLE 20 - executed by all parties - c: USA, PTS, J. Howard,
                                                                                                                                           ,r,_
                                                                                                                                            IIIHl'II __

    4-23-91     5
                              SD/Florida, USM, USPO                                jh
                      NOTE: Cover Letter sending all documents in file to SD/Florida
                              pursuant to the Rule 20 Transfer
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    7/12/91     6     RETURN ON WARRANT - This case was ruled 20 from.EDNC and assignEd No.
                         91-73-cr-J-12, said subject was sentenced for~ period of 8 yis. on th                                s   c~se.



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                                  Case 3:90-cr-00075-H Document 2 Filed 12/18/90 Page 2 of 2
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             Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 5 of 8 Pageid#:
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                       CRIMINAL DOCKET • U.S. District Court                                                                                                                               ea.. Flied                                          .,.,,
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(Rft.2/881             PO                417            0                                 L....J JUVENILE
                                                                                                                      JENNETT, Jeffrey,                  a/k/a                       12 ha 90                      00075                       01
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                                                                                                                        Jeffrey Miller Jennett                                               No of
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                       Felony           Oi1trict        011 ! Judgo/M19ittr.              OFFENSE ON INDEX CAR                                                                         2      D91's•
                                  U.S. TITLE/SECTION                                                                       OFFENSES CHARGED                                 ORIGINAL COUNTSf                                DISM.

                         1_1_~-~.?.~.!~18:2 ...... _ :_~t.e~ti~g t.wo .. co.1~.M.:.!? rifles and aiding.and._abetting_.__                                                                           :_ .. _ L._            w    L-1
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                         t.18: 113 &. 18: 2 ·-- i Assault .with __ intent. to ... conunit ... robbery & .aidin$ .. and __ abet ti.pg L_                                                                                    WL.J
                         ~----·······-··-·  ... -... -.. ---- ·-·-- ......... (C.t_. ___ 2)................ ·---.. ·----·--·····--...........------···-·-·-·..---····- 1i L_                                               L.JL.J
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                         L... __.......... ---····--·· •.in __ contravention __ 02 ... 21:.5812i586l(b)&5871._ (Ct._ 4) ___·---·-··· ; .! t__                                                                              1-JL......J
                         L.:i.3..I.2~.:.§J5~_i.z...... 28~H~).cS_._5JUL,J:>.o~s~.!l.SJQ!l... .9.f U.i::~~p11~_(Q.i::t11..~---·~t.~.1.:Z.1.~~J0L_                          L__ _                                            1-JL......J
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                                                              DATE                          INITIAL/NO.                                                               INITIAL/NO.   OUTCOME:
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                         Warrant           -
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                         Arrest Warrant        j
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                             COMPLAINT                                                             INTERVENING INDICTMENT
                         Dole of Arrell                 OFFENSE lln Complainll

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                       (!'ow lat names and suffix numbor& of other defendants on 1am, indictment/information:
                             ATTORNEYS                                                                                                                                                                        20      21       40         In
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                             U.S.At1om1yorA111.              - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , . . . . . - B A I L • RELEASE--
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                z            70 days up: 2/26/91                                                                                               Att     & Ptd.         2/19/91 R:al                              NOi M..             U Call--'
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                                    DATE                         RECEIPT NUMBER                          C.D.NUMBER             DATE            RECEIPT NUMBER               C.D. NUMBER
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                      Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 6 of 8 Pageid#:
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                                                                             MASTER DOCKET· MULTIPLE DEFENDANT CASE    PAGEL__j OFL._j_
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                           J                                                 PROCEEDINGS DOCKET FOR SINGLE DEFENDANT                                Ltr,   TOIII   pa1.._ofaclud-


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                                                                                       V. PROCEEDINGS
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     11-9;90-:                 1     ERDIINAL COMPLAINT -       90-767-M-3                               jl                                                            IIIUSC4:M41
    11-26-90                   2     Received from the District of South Carolina - the following
                                          documents: Commitment to Another District



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                                                     Waiver of Rule 40 Hearings
                                                     Order: that the FPD is appointed to rerpesent the
                                                      defendant                                                                                                    II NARAnW11111
                                                                                                                                                                     USCII02IIIIIIIII
                                                    Order of Temporary Detention Pneding Trial                                                                     c-,..,.
                                                                    (Mag. Roberts. Carr)                Jt                                                             -IIIIIDII
· 12-3-90                            INITIAL APPEARANCE ON CRIMINAL COMPLAINT at Fay Before Mag. Dixcn                                                             0 lftllfloMo,yfl>




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                                                                                                                                                                    -11111•11
                                          (Proceedings Recorded) Adv. of all rights. FPD Ordered in                                                                E ,_1111110tiCM
                                                                                                                                                                    llra8tilinato
                                          this case. Govt moves for Detention pending trial                                                                         llltrinfor1Gdllf

                                         Deft remanded to the custody of the USM pending det. hearing                                                                  11111•11




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                                                                                                                                                                   f T1nflrll'Clffl9.,_
                                          in this case.                                                 jh                                                          dldricl 1111' FRC,P
                                                                                                                                                                       20.2to,40orlllf-
i 12-3-90                      3    MOTION FOR PRETRIAL DETENTION - by: Govt - le: Mag. Dixon jh                                                                       Rulelt)l1UGII

 12-3-90                       4     ORDER that the FPD provide representation in this case.
                                                    (Mag. Dixo~)c~ FPD Office                           jii
    12-3-90                    5     ORJ>.~R OF TEMPORARY DETENTION PENDING HEARING - set for Wed.
                                                                                                                                                                   G--
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                                                                                                                                                                    ---
                                         Dec. 5, 1990 at 10AM in Fay Before Mag. dixon - c: FPD, USA,
                                         USPO, PTS, USM                                                jh
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    12-3-90


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                                    NOTICE ISSUED. - for Det/Prob. Cause Hearing at Fay Before Mag.
                                                    Dixon on Wednesday, december 5, 1990 at 10AM                                                                    --IIIIUII
                                                    c: FPD, USA, USM, PTS, Joyce Todd-Civil, Court
                                                    Reporter, Mag. Dixon                               jh                                                              ........ ,_iOn.

    12-4-90                    6
                                                                                                                                                                    OeparU'IIGfl, " " '

                                    ORDER the deft. hearing set on 12/5 at 10AM is cont. to 12/12                                                                   d"""IIIII
                                                                                                                                                                   la.twralofpralf-

                                                    at 2PM. (Mag. Dixon) c: USA, Counsel, PTS, USM jh
                                                                                                                                                                    OidiolllPl'21USC
                                                                                                                                                                       28021 l1t11CJI
    12-4-90



                                                                                                                                                                                     _
                               7    REQUEST FOR DISCOVERY - w/cs by: Robert L. Cooper               jh                                                             8T,.,...lllionfnllll

    12-12-90                                                                                                                                                           calfraM,.....-..
                                                                                                                                                                       IMINfdiurictor

                                      DETENTION BEARING at Fay Before Mag. Dixon (C.R.-Carolyn Willia~s)                                                               o,llalpiuflHlio,t




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                                         Court finds probable cause - deft ordered detained pending the                                                            ,~·
                                                                                                                                                                   IIIIIHII.
                                         trial of this case.                                           jh                                                          _,
' 12-14-90
                                                                                                                                                                       ., .......
                                                                                                                                                                    .. ...,..,uuu
                               8    ORDER OF DETENTION PENDING TRIAL - the court perceives the deft                                                                . . . .don .......


.                                        to be a danger to the safety of the community and other perso~s
                                                                                                                                                                   .....
                                                                                                                                                                   _,,,........
                                                                                                                                                                       11211

                                         and is satisfied of this concern by clear and convincing evid~nce •                                                             .........
                                                                                                                                                                   Mu..tillllll'IYotdt


                                         The deft is Ordered detained pending disposition of this case                                                             ..,_
                                                                                                                                                                   ,. ,.,ioG.ollNftlll,..,.


, 12-19-90                     9
                                         (Mag. Dixon) c: USA, USPO, USM, Deft, Counsel
                                    MOTION FOR REVIEW OF ORDER OF DETENTION PENDING TRIAL - w/cs by
                                                                                                      .Jh
                                                                                                             ,._.... \q,.~ CL                                      o_.,_
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                                       . Cooper - le: Judge Howard                                     jh 8-·\~~ \                                                     --.niCffllftlh1911·
                                                                                                                                                                       ffllM-ICIII
    *12-13-90                  1(     NOTICE OF APPEARANCE BY: Robert L. Cooper -                      jh                                                          '~•ndin·
    12-18-90                   11   INDICTMENT FILED - c: USA, USPO, USM, Judge Howard, Mag. Dixon,
                                                                                                                                                                       -11111

.                                                   New Bern, Division, Mag. Mccotter                 jh
    12/21/90               12        APPEARANCE OF COUNSEL - by ATty. H. Gerald Beaver (Atty. Coope1


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                                                                                                                                                                   -----
                                                                                                                                                                   . _,.
                                                 to file m/withdraw) - le: USA, USPO, Judge Howard                                                                 R 0.1....WII Hill
                                                        Mag. Mccotter.                                      sr
                           L3.       ORDER ON PRETRIAL SCHEDULING -                                                                                                    t111nw..... lllll
                                           discovery by 1/9/91                                                                                                         •lltlldPl!'lltllll
                                                                                                                                                                       .,.."T",.._,,_.




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                                           motions by 1/21/91                                                                                                          11Wl-offtlol-
                                                                                                                                                                       laiftt_....,IT1

:                                          responses - 10 days of service of motions                                                                                   lllfUT41h .... 111
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                                           (Mccotter, mag.) le: Judge Howard, USA and counsel                sr



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                                                                                                                                                                   Tl Fti..... lONllliftllt
                                           Cent. 12/28/90)
          12-28-90 14                MOTION FOR LEAVE TO WITHDRAW - by: Robert L. Cooper - le: Mag.                                                                 ot ..... 111111.-i~I

                                                      Mccotter                                                                                                     T2    c.---•--
    1/7/91                 ~5. ORDER - Mr. Cooper is allowed tow/draw as counsel as
•                                   deft. has obtained prviately-retained counsel H. Gerald
                                    Beaver (Mccotter, Mag.) Cr. OB#lS, P. 8 -                                                                                      T!,!_~.:-
                                                                                                                                                                   "' JO_,
                                                                                                                                                                    ...........
                                                                                                                                                                    ..............
                                    le: USA, USPO, mag. Mccotter and :Mr.Cooper and Mr, Beaver                                                                                       l(IHl,..rf

                                    (ent. 1/7/91)
                                                                                                                                                                   ,. C'onUDulla . . . . .
                                                                                                    i.r.
          1-8-91             1~ MOTION TO EXTEND TIME FOR DISCOVERY AND FILING OF PRETRIAL MOT uNS -                                                                ........... co


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                                                                                                                                                                    -111111;,11
                                         Cas~ 1§:~cf-H-c"5dJ~!H- 1cJrWM1i: 1:1c~fetcT1.2/18/90                                                                         vp&o_..._.
                                                                                                                                                                    ..............
                                                                                               Pag~~ of 4                                                          UT...
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    1----===,.b....l,==========================-CONTINUEDTOPAGE L:,_jl-====-=-----
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                                                                                                                                                                   WGrenllMf'l.,..._.1
,       Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 7 of 8 Pageid#:



           UNITED STATES DISTRICT COURT
                                          20317



           CRIMINAL DOCKET      U. S. vs                   Jeffrey Jennett,
                                                            a/k/a Jeffrey Miller Jennett                          90-75-01-Cr-3




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/                 AO 2S6A It        V                                                                         Yr.         Doc;ket No.   Oef,

                DATE                                PROCEEDINGS (continued)                                V. EXCLUDABLE DELAY
           1-------~(Document No.) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _(_a)-+_ _(b-')---i'""'"'(c;"-)t--(d__
                                                                                                                           )
             1-11-91           17. ORDER    Voluntary discovery is extended to Jan. 16, 1991.
                                               Mtns by: 1/28/91 and Responses within 10 days f
                                               service of such mtns. (Judge Mccotter) O.B.#14 P.16
                                               c: USA, Counsel, J. Howard                          jh
             1-23-91       18       MOTION w/cs by govt - to remove deft from custody of USM
                                                 to the custody of ATF Agents - (McCullough)
                                                 c: Judge Denson                               jh
             1-23-91       19       ORDER that these federal agents (ATF) contact the USM or his




•
                                      designee in advance to make arrangments for removal of the deft.
                                      ORDERED to return the deft to the custody of the USM f r
                                      safekeeping overnight, unless other arrangments have
                                      specifically been permitted by the Court. (Judge Denso)
                                      O.B.#15, P.38 - c: USA for service                       J.h

             1-29-91       20       MOTION to remove deft from the custody of the USM - by:
                                                Skiver - le: Judge Denson - w/prop. Order                         h
             1-29-91       21       ORDER that these federal agents contact the USM or his
                                      designee in advance to make appropraite arrangements f
                                      removal fro the custody of the USM - ORDERED to return
                                      deft to the custody of the USM Service for safekeeping                      night
                                      unless other arrangements have specifically been permi
                                      by the Court. (Judge Denson)O.B.#14, P.44 5 cert cys:                       or
                                      Service
            *   1-4-91         22
                              RETURN ON WARRANT FOR ARREST - date rec'd 12/13/90,
                                           date of arrest 11/15/90 (Kirk D. Armfield,
               2-7-91 Vo. 23. TRANSCRIPT of detention/probable cause hearing before
                                    The Honorable Wallace W. Dison on December 12, 199
                                    in Fayetteville, NC - C.R. Carol W. Williams -
                                    (1 Volume - Pages 1 thru 100)
              2-7-91      ISSUED NOTICE FOR ARR & TRIAL ON Tues. Feb. 19, 1991 at 10
                                in Ral Before J. Howard - c: USA, PTS, USPO, USM, Deft,




•
                               Counsel                                           jh
            · 2-12-91    24. ORDER - this court DENIES the motion of the deft for re      ion
                                          or amendment of the detention order (Judge H    )
                                          O.B.#14, P.62 - c: Counsel, USA, J. Howard        jh
              2/19/91    AT RALEIGH BEFORE JUDGE HOWARD - (C.R. Sharon Kroeger)
                            Deft. sworn - deft. comtetent - Rule 11 conducted. Advis
                            of charge•; Plea of guilty to Counts 1, 2, 6, & 9- Govt.
                            summarized evidence, Plea freely and voluntarily entered
                      25 MEMORANDUM OF PLEA AGREEMENT FILED
                            Court accepts plea/Factual basis exists
                            BOND: Federal Custody
                            Deft's. Motion to Dismiss Remaining Counts - under advise ent
                            SENT date: May 20, 1991 - Fayetteville                 BLL
            5/1/91                  ISSUED NOTICE TO APPEAR - set for sentencing on Monday,




'
                                                   5/20/91 at 10 A.M. in Fay. before Judge
                                                   Howard - le: USA and counsel of record                         · sr




                                                                                                    Interval          Start Date   Ltr. Total
                                                                                              (per Section 11 I         End Date   Cod Daya
                                                                                                                                                    ,
             Case 3:17-cv-00072-NKM-JCH Document 1213-1 Filed 10/12/21 Page 8 of 8 Pageid#:
                                               20318



UNITED STATES DISTRICT COURT
CRIMINAL DOCKET




                                                                                                                                                •
        AO 256A

      DATE                                       PROCEEDINGS (continued)                                        V. EXCLUOABLE OELAV
1---------l-(Oocumen1 No.) - - - - - - - - - - - - - - - - - - - - - - - - - j f . - ! ! ( a . ! . . )+--...!(b~l~-i....!!::(c!...jl~(~di
 5-20-91           26     JUDGMENTAND COMMITMENT at Fayetteville before Judge
                               Howard (C.R. - Donna Tomawski)
                     Cts. 3, 4, 5, 7, 8 & 10 - dismissed
                     Cts. 6 and 9 - BOP - 18 months (concurrent w/Cts. 1&2)
                     supv. rel. - 36 months
                     $100.00 - special assessment
                     Fine - $6,000.00 - pd. under supv. of prob. in equal
                     monthly installments of not less than $150.00
                      (Cts. 6 & 9 - consolidated for judgment)




                                                                                                                                                •
                     1. that the deft pay the fine of $6,000 w/pmts to begin
                     & cont. during deft's incarceration. The unpaid portio
                     to be paid under prob. supv. in equal monthly installme s
                     of not less than $150.00.
                     2. that the deft not incur new credit charges or open
                     addt'l lines of credit w/o approval of prob. ofcr.
                     3. that the deft provide prob. ofcr. w/any req. fin.
                     info.
                     Statement of Reasons
                      (Judge Howard) O.B. #15, p. 185 c: USA, USPO, USM,
                         Deft, Counsel, PTS, Judge Howard, Fin. Dpty
                                          Entered: 5/24/91                                    sa
  5-20-91            Presentence Report Sealed                                                sa
  5-20-91     27     JUDGMENT    AND  COMMITMENT at  Fayetteville    before   Judge
                                Howard {C.R. - Donna Tomawski)
                      Count 1 - AG 18 months, to run concurrently w/the sent.
                      imposed in the guidelines Cts. 6 & 9
                      Count 2 - AG 18 months, to run concurrently w/the sent.
                      imposed in Ct. 1
                      $100.00 special assessment - any balance owing at the
                      exp. of confinement to be paid dur. term of supv. rel.
                      That the deft. abide the standard conditions as set out
                      in the Judgment.
                      That the deft. surrender for svc of sent. at an inst.




                                                                                                                                                •
                      desig. by BOP as notified by the USM.
                       (Judge Howard) O.B.#15, p. 186 cc: USA, USPO, USM,
                         Deft, Counsel, PTS, Judge Howard, Fin. Dpty.
                                                     Ent. 5/24/91                             sa
  5-20-91     28      ORDER   SETTING  CONDITIONS  OF   RELEASE -   $25,000  unsecured
                                 & 3rd party cust. w/sp. conds.
                                 (Judge Howard) c: USA, PTS, USPO, USM, Deft, Cun 1 sa
   5-20-91    29       APPEARANCE   BOND - in the amt. of $25,000 unsecured
                                 (Judge Howard) c: USA, PTS, USPO, USM, Deft, Cons l             sa
   5-20-91     30      ORDER  TO  SURRENDER  - deft.  to  surrender   to  AG by  rpting
                       to inst. as desig. by USM. cc: USM                                        sa
      6-11-91   AMENDED    JUDGMENT  AND  COMMITMENT   (GUIDELINE)   as  to  Title &   Se tin




                                                                                                                                                t
                             Only - (Judge Howard) c: USA, USPO, USM, Deft, Co se,
                             J. Howard              Ent. 6/12/91                    jh
     6-11-91     AMENDED JUDGMNET AND COMMITMENT (NONGUIDELINE) as to Nature               0 fense
                             and Date of Offense concluded Only. (Judge Howard)
                             c: USA, USPO, USM, Deft, Counsel, J. Howard, PTS                                                           h
  8-30-91       RETUBN ON J/C - Self Surr on 7/10/91 to FCI, Fort Worth, Tx h
  8-30-91       RETUBN ON J/C - Self Surr on 7/10/91 to FCI, Fort Worth, Tx h
   3-6-92 VO      TRANSCRIPT SENTENCING 5/20/91 Before Judge Boward at Fayett vile
                                      (C.R.-Donna Tomawski)       .                         j
                                                                                     Filed 12/18 90 11?iil,Q,e         Wa.4oa,e    Llr. Tolal
                                                                                                    lper Section II)    End Dale   Cod Davs
